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Anthony F. Giuliano, Esq.
PRYOR & MANDELUP, L.L.P.
675 Old Country Road
Westbury, New York 11590
XX-XXXXXXX
UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
-------------------------------------------------------------x
In re:
                                                                        Chapter 11

TOUGH MUDDER INCORPORATED,                                              Case No.: 20-10036

                                                                        NOTICE OF APPEARANCE
                                     Debtor.
-------------------------------------------------------------x

                  PLEASE TAKE NOTICE, that Computero Inc., a creditor of Tough Mudder

Incorporated (“Debtor"), debtor in the above captioned Chapter 11 case, by its attorneys, Pryor &

Mandelup, L.L.P., demands, pursuant to Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy

Procedure ("Bankruptcy Rules"), that all notices given or required to be given in this case and all

papers served or required to be served on Computero Inc., be served upon the undersigned at the

following office address, facsimile number, telephone number, and e-mail address:

                                           Pryor & Mandelup, L.L.P.
                                             675 Old Country Road
                                          Westbury, New York 11590
                                             phone - (516) 997-0999
                                               fax - (516) 333-7333
                                       e-mail - afg@pryormandelup.com
                                        Attn.: Anthony F. Giuliano, Esq.


                  PLEASE TAKE FURTHER NOTICE, that pursuant to Section 1109(b) of the

Bankruptcy Rules, the foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of any

application, motion, petition, pleading, request, complaint or demand, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph,


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facsimile transmission or otherwise, which may affect or seek to affect any rights or interests of the

above-captioned debtor, any creditor, or any other party in interest in the above cases.

                PLEASE TAKE FURTHER NOTICE, that this notice of appearance and demand

for service of papers is without prejudice to the rights, remedies, and claims of Computero Inc., and

shall not be deemed or construed to be a waiver of its rights to: (1) have final orders in non-core

matters entered only after de novo review by a District Judge; (2) trial by jury in any proceeding

related to these cases; or (3) have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal.

Dated: Westbury, New York
       February 18, 2020                                PRYOR & MANDELUP, L.L.P.
                                                        Attorneys for creditor, Computero Inc.


                                                By:      /s/ Anthony F. Giuliano
                                                        Anthony F. Giuliano
                                                        675 Old Country Road
                                                        Westbury, New York 11590
                                                        (516) 997-0999




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